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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                                )       In Proceedings
                                                      )       Under Chapter 7
         KIMBERLY R. CONNER,                          )
                                                      )       BK      18-60337
                               Debtor.                )

                    OBJECTION TO AMENDED EXEMPTIONS

         COMES NOW Robert T. Bruegge, Trustee in the above-referenced cause, and for

his Objection to Debtors’ Claim of Amended Exemptions states to the Court as follows:

         1.     That the Debtor is claiming an exemption of Thirteen Thousand Five

Hundred Twenty-Five Dollars and Sixty Cents ($13,525.60) under 735 ILCS 5/12-901 in

the real estate located at 401 E. Johnson Ave., Altamont, IL.

         2.     That the Trustee objects to any exemption claimed under 735 ILCS 5/12-

901 in the real estate located at 401 E. Johnson Ave., Altamont, IL as this exemption

applies to the debtor’s residence and the debtor testified she has not resided in this

property since August 2017.

         WHEREFORE, the Trustee prays that the Court enter an Order sustaining his

Objection to Exemptions.

                                               ROBERT T. BRUEGGE, TRUSTEE,

                                               By: /s/ Robert T. Bruegge
                                               Robert T. Bruegge, Trustee
                                               130 North Main Street
                                               PO Box 510
                                               Edwardsville, IL 62025
                                               (618) 301-4878
                                               (888) 519-6101 fax
                                               rtbruegge@lawdept.net
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                      NOTICE OF ELECTRONIC FILING AND
                       CERTIFICATE OF SERVICE BY MAIL

STATE OF ILLINOIS                      )                       BK      18-60337
                                       )       SS
CITY OF EDWARDSVILLE                   )                       Chapter     7

        Krista Doiron, being duly sworn, deposes and says:
        Deponent is not a party to the action, is over 18 years of age, and resides in St. Clair
County, Illinois.
        On November 29, 2018, Deponent electronically filed with the Clerk of the U.S.
Bankruptcy Court the Objection to Amended Exemptions.
        The Deponent served electronically the Objection to Amended Exemptions to the
following parties:

U.S. Trustee                           J.D. Graham

and served by mail to the following parties:

Kimberly Conner
110A N Mulberry
Effingham IL 62401

by depositing a true copy of same, enclosed in a postage paid properly addressed
wrapper, in a Edwardsville City Branch, official depository under the exclusive care and
custody of the United States Postal Service, within the State of Illinois.


                                                         By: /s/ Krista Doiron
